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                                 EXHIBIT C
              Case: 1:20-cv-05643 Document #: 23-3 Filed: 02/22/21 Page 2 of 2 PageID #:230


Villeneuve, Alain

From:                                     Villeneuve, Alain
Sent:                                     Friday, January 15, 2021 11:36 AM
To:                                       Wolek, Adam
Cc:                                       Horwath, Nichole L.
Subject:                                  Request for License
Attachments:                              Akiane Letter.pdf


Adam:

We are trying to move as fast as possible here.

See the attached. Truth is, if I get deep into that other case, fees will go up and defeat the purpose here. So if we can
just get that quick document, cement a period we will be able to make an offer.

Alain




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